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        Exhibit K
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                                                                U.S. Department of Justice




                                                                United States Attorney
                                                                District of Arizona
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                                                              40 N. Central Ave., Suite 1800     Main Fax: (602) 514-7693
                                                              Phoenix, AZ 85004-4408

                                                              January 13, 2020



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(attorney for Michael Lacey)

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(attorney for Andrew Padilla)                                                           1875 Century Park East
                                                                                        23rd Floor
                                                                                        Los Angeles, CA 90067
                                                                                        (attorney for Jed Brunst)

          Re:      U.S. v. Michael Lacey, et.al.
                   CR-18-00422-PHX-SMB

  Dear Counsel:

        In an effort to assist you in easily locating specific financial records previously produced, the
  government has re-Bates these records and enclosed a disk that contains an index with the production
  BEGDOC and ENDDOC DOJ-BP Bates number, file name, and file path for each record. 1

  1
   A thumb drive containing the re-produced financial records and a disk containing an index for this re-production
  for defendants Michael Lacey, James Larkin, and Jed Brunst are being provided to Paul Cambria Jr., Thomas H.
  Bienert Jr., and Gary Lincenberg respectively.
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       In the coming weeks, in an effort to further assist Defendants in preparing for trial, the
government will provide you with a list identifying the specific financial records that relate to the
money laundering charges in Counts 53-100 of the Superseding Indictment.

The thumb drive contains the following Bates Stamped records:
   • Re-Bates Previously Produced Financial Records – DOJ-BP-0004902872-DOJ-BP-
       0005068773


         Please reach out with any questions.


                                                            Sincerely,


                                                            BRIAN BENCZKOWSKI
                                                            Assistant Attorney General
                                                            Criminal Division
                                                            U.S. Department of Justice
                                                            s/Reginald E. Jones
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Enclosures
